
PER CURIAM.
By petition seeking belated appeal pursuant to Florida Rule of Appellate Procedure 9.140(j), petitioner asserts that he was not timely provided with a copy of the December 13, 1996, order which denied his motion for postconviction relief in Duval County case number 90-13387-CF. In response to an order to show cause, the state does not object to the belated appeal. Accordingly, we grant the request for a belated appeal and remand to the trial court. The trial court shall treat this court’s mandate as the notice of appeal. Fla. R.App. P. 9.140(j)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
BARFIELD, C.J., and ALLEN and WEBSTER, JJ., concur.
